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 8                              UNITED STATES DISTRICT COURT
 9                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
     MEGHAN O’Malley-KAIL; and MAYA
     KAIL; LEAH KAIL, individually and as               PLAINTIFFS’ COMPLAINT FOR
11
     successors-in-interest to Estate of JUSTIN        DAMAGES AND VIOLATIONS OF
12   KAIL (Decedent),                                  CIVIL RIGHTS PURUSNT TO 42 U.S.C.
                                                       §1983, CALIFORNIA CIVIL CODE §52.1,
13
                           Plaintiffs,                 AND WRONGFUL DEATH
14
     vs.
15
16   SHERIFF CHAD BIANCO, an Individual:
     Correctional Deputy GARRETT SCHULTZ, an
17   Individual; Correctional Deputy MICHAEL     DEMAND FOR JURY TRIAL
     GUNDRY, an Individual; Correctional Deputy
18   JARED COX, an Individual; Correctional
19   Deputy AARON ESPANOL, an Individual;
     Correctional Deputy JASON JUCO, an
20   Individual; Correctional Deputy MARIA
     CORONEL, an Individual; Correctional Deputy
21   VINH VUONG, an Individual; Correctional
22   Sergeant CHRISTIAN MURPHY, an
     Individual; Correctional Sergeant BRYAN
23   BURNETT, an Individual; Correctional
     Lieutenant LESLIE URIARTE, an Individual;
24   Correctional Lieutenant GABRIEL RAMIREZ,
25   an Individual; Correctional Corporal JARED
     WARD SR., an Individual; Sergeant LACY
26   STUTLER, an Individual; Sergeant JERET
     MCCLELLAN, an Individual; Deputy JACOB
27   HUSKEY, an Individual; Deputy ANDREW
28   CLARK; RIVERSIDE COUNTY SHERIFF’S
     DEPARTMENT; COUNTY OF RIVERSIDE,
     A MUNICIPAL ENTITY and DOES 1- 25,
     Inclusive,
                                                   1
                                PLAINTIFFS’ COMPLAINT FOR DAMAGES AND
                                      VIOLATIONS OF CIVIL RIGHTS
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 1
                              Defendant(s).
 2
 3
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11
12                                                INTRODUCTION

13           1. This action involves the death of Justin Kail (hereinafter “Mr. Kail” or “Decedent”)
14   which is filed by Mr. Kail’s surviving mother, Sharon Kidd (hereinafter “Plaintiff Sharon”),
15
     surviving wife Meghan O’Malley Kail (hereinafter “Plaintiff Meghan”), and his surviving
16
     daughters Maya Kail (hereinafter “Plaintiff Maya”), and Leah Kail (hereinafter “Plaintiff Leah”)
17
18   individually and collectively as (“Plaintiffs”). Mr. Kail died due to an alleged fatal overdose

19   while detained at the Cois Byrd Detention Center in Murrieta, California, County of Riverside.
20
     Mr. Kail, as all other inmates, required the highest possible observation while in detention. On or
21
     about May 17, 2022, at or near 11:28 p.m., Riverside County Sheriff’s Deputies assigned to the
22
     Murrieta jail responded to Mr. Kail’s jail cell and found him unresponsive. The jail personnel
23
24   allegedly performed life-saving measures on Mr. Kail; however, they were not successful in their

25   resuscitation efforts and Mr. Kail died inside his jail cell.
26
                                           JURISDICTION AND VENUE
27
             2. This Court has jurisdiction over Plaintiffs’ federal claim under 28, U.S.C.
28
                                                     2
                                  PLAINTIFFS’ COMPLAINT FOR DAMAGES AND
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 1   §§1331, 1343, as it arises under 42 U.S.C. §1983.
 2           3. This court has personal jurisdiction over all Defendants as Plaintiffs are informed and
 3
     belief and thereon allege that each defendant is a resident of the State of California.
 4
             4. Venue in the United States Central District Court for the Western Division is proper
 5
 6   pursuant to 28 U.S.C. §1391(b) because the events giving rise to Plaintiffs’ claim occurred in this

 7   district and in the Riverside County which is within this judicial district.
 8           5. Plaintiffs commence this action timely and in accordance with the applicable statutes
 9
     of limitations and the amount of controversy herein, excluding interest and costs, exceeds the
10
     minimum jurisdictional limit of this Court.
11
12                                                    PARTIES

13   PLAINTIFF:
14
             6. Plaintiff Meghan is the surviving spouse of Decedent and has a special interest in this
15
     matter that is concrete and therefore has standing to bring this claim as Civil Rights Violation
16
     under §1983. PLAINTIFFS were residents of the State of California, Riverside County at the
17
18   time of the SUBJECT INCIDENT. Pursuant to CCP §377.34(b), effective January 1, 2022, in an

19   action by a Decedent’s Successor-in-Interest on the Decedent’s cause of action, the damages
20
     recoverable may include damages for pre-death pain, suffering, and disfigurement since this
21
     action is being filed after January 1, 2022, and before January 1, 2026.
22
        7.    Plaintiff Maya is the surviving child of Decedent, and has a special interest in this
23
24   matter that is concrete and therefore has standing to bring this claim as Civil Rights Violation

25   under §1983. Plaintiff was a resident of the State of California, Riverside County at the time of
26
     the incident. Under CCP §377.30, a cause of action that survives the death of the person entitled
27
     to commence an action or proceeding passes to the Decedent’s Successor-in-Interest. Pursuant
28
                                                    3
                                 PLAINTIFFS’ COMPLAINT FOR DAMAGES AND
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 1   to CCP §377.34(b), effective January 1, 2022, in an action by a Decedent’s Successor-in-Interest
 2   on the Decedent’s cause of action, the damages recoverable may include damages for pre-death
 3
     pain, suffering, and disfigurement since this action is being filed after January 1, 2022, and
 4
     before January 1, 2026.
 5
 6      8. Plaintiff Leah is the surviving child of Decedent, and has a special interest in this matter

 7   that is concrete and therefore has standing to bring this claim as Civil Rights Violation under
 8   §1983. Plaintiff was a resident of the State of California, Riverside County at the time of the
 9
     incident. Under CCP §377.30, a cause of action that survives the death of the person entitled to
10
     commence an action or proceeding passes to the Decedent’s Successor-in-Interest. Pursuant to
11
12   CCP §377.34(b), effective January 1, 2022, in an action by a Decedent’s Successor-in-Interest on

13   the Decedent’s cause of action, the damages recoverable may include damages for pre-death
14   pain, suffering, and disfigurement since this action is being filed after January 1, 2022, and
15
     before January 1, 2026.
16
        9. Plaintiff Sharon is the surviving mother of Decedent, and has a special interest in this
17
18   matter that is concrete and therefore has standing to bring this claim as Civil Rights Violation

19   under §1983. Plaintiff was a resident of the State of California, Riverside County at the time of
20
     the incident. Under CCP §377.30, a cause of action that survives the death of the person entitled
21
     to commence an action or proceeding passes to the Decedent’s Successor-in-Interest. Pursuant
22
     to CCP §377.34(b), effective January 1, 2022, in an action by a Decedent’s Successor-in-Interest
23
24   on the Decedent’s cause of action, the damages recoverable may include damages for pre-death

25   pain, suffering, and disfigurement since this action is being filed after January 1, 2022, and
26
     before January 1, 2026.
27
28
                                                    4
                                 PLAINTIFFS’ COMPLAINT FOR DAMAGES AND
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 1   DEFENDANTS:
 2          10. Plaintiffs are informed and believe and thereon allege that Defendant CHAD
 3
     BIANCO (“Defendant Bianco”) is a citizen of California, and is and was elected Sheriff,
 4
     Coroner and Public Administrator of Riverside County Sheriff Department and serves as the
 5
 6   Chief Law Enforcement Officer of Riverside County.

 7          11. Plaintiffs are informed and believe and thereon allege that Defendant GARRETT
 8   SCHULTZ (“Defendant Shultz”) is a citizen of California, and is a correctional deputy employed
 9
     by or an agent of the Riverside County Sheriff Department and Cois M. Byrd Detention Center,
10
     located at 30755-B Auld Rd., Murrieta, CA, 92563. He was one of the officers at the aforesaid
11
12   detention center who responded to the scene and acted under the color of law within the scope of

13   his agency with the Riverside County Sheriff’s Department.
14
            12. Plaintiffs are informed and believe and thereon allege that Defendant MICHAEL
15
     GUNDRY (“Defendant Gundry”) is a citizen of California, and is a correctional deputy
16
     employed by or an agent of the Riverside County Sheriff Department and Cois M. Byrd
17
18   Detention Center, located at 30755-B Auld Rd., Murrieta, CA, 92563. He was one of the officers

19   at the aforesaid detention center who responded to the scene and acted under the color of law
20
     within the scope of his agency with the Riverside County Sheriff’s Department.
21
            13. Plaintiffs are informed and believe and thereon allege that Defendant JARED COX
22
     (“Defendant Cox”) is a citizen of California, and is a correctional deputy employed by or an
23
24   agent of the Riverside County Sheriff Department and Cois M. Byrd Detention Center, located at

25   30755-B Auld Rd., Murrieta, CA, 92563. He was one of the officers at the aforesaid detention
26
     center who responded to the scene and acted under the color of law within the scope of his
27
     agency with the Riverside County Sheriff’s Department.
28
                                                   5
                                PLAINTIFFS’ COMPLAINT FOR DAMAGES AND
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 1          14. Plaintiffs are informed and believe and thereon allege that Defendant AARON
 2   ESPANOL (“Defendant Espanol”) is a citizen of California, and is a correctional deputy
 3
     employed by or an agent of the Riverside County Sheriff Department and Cois M. Byrd
 4
     Detention Center, located at 30755-B Auld Rd., Murrieta, CA, 92563. He was one of the officers
 5
 6   at the aforesaid detention center who responded to the scene and acted under the color of law

 7   within the scope of his agency with the Riverside County Sheriff’s Department.
 8          15. Plaintiffs are informed and believe and thereon allege that Defendant JASON JUCO
 9
     (“Defendant Juco”) is a citizen of California, and is a correctional deputy employed by or an
10
     agent of the Riverside County Sheriff Department and Cois M. Byrd Detention Center, located at
11
12   30755-B Auld Rd., Murrieta, CA, 92563. He was one of the officers at the aforesaid detention

13   center who responded to the scene and acted under the color of law within the scope of his
14   agency with the Riverside County Sheriff’s Department.
15
            16. Plaintiffs are informed and believe and thereon allege that Defendant MARIA
16
     CORONEL (“Defendant Coronel”) is a citizen of California, and is a correctional deputy
17
18   employed by or an agent of the Riverside County Sheriff Department and Cois M. Byrd

19   Detention Center, located at 30755-B Auld Rd., Murrieta, CA, 92563. He was one of the officers
20
     at the aforesaid detention center who responded to the scene and acted under the color of law
21
     within the scope of his agency with the Riverside County Sheriff’s Department.
22
            17. Plaintiffs are informed and believe and thereon allege that Defendant JASON JUCO
23
24   (“Defendant Juco”) is a citizen of California, and is a correctional deputy employed by or an

25   agent of the Riverside County Sheriff Department and Cois M. Byrd Detention Center, located at
26
     30755-B Auld Rd., Murrieta, CA, 92563. He was one of the officers at the aforesaid detention
27
28
                                                   6
                                PLAINTIFFS’ COMPLAINT FOR DAMAGES AND
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 1   center who responded to the scene and acted under the color of law within the scope of his
 2   agency with the Riverside County Sheriff’s Department.
 3
            18. Plaintiffs are informed and believe and thereon allege that Defendant VINH VUONG,
 4
     (“Defendant Vuong”) is a citizen of California, and is a correctional deputy employed by or an
 5
 6   agent of the Riverside County Sheriff Department and Cois M. Byrd Detention Center, located at

 7   30755-B Auld Rd., Murrieta, CA, 92563. He was one of the officers at the aforesaid detention
 8   center who responded to the scene and acted under the color of law within the scope of his
 9
     agency with the Riverside County Sheriff’s Department.
10
            19. Plaintiffs are informed and believe and thereon allege that Defendant CHRISTIAN
11
12   MURPHY (“Defendant Murphy”) is a citizen of California, and is a correctional sergeant

13   employed by or an agent of the Riverside County Sheriff Department and Cois M. Byrd
14   Detention Center, located at 30755-B Auld Rd., Murrieta, CA, 92563. He was one of the officers
15
     at the aforesaid detention center who responded to the scene and acted under the color of law
16
     within the scope of his agency with the Riverside County Sheriff’s Department.
17
18          20. Plaintiffs are informed and believe and thereon allege that Defendant BRYAN

19   BURNETT (“Defendant Burnett”) is a citizen of California, and is a correctional sergeant
20
     employed by or an agent of the Riverside County Sheriff Department and Cois M. Byrd
21
     Detention Center, located at 30755-B Auld Rd., Murrieta, CA, 92563. He was one of the officers
22
     at the aforesaid detention center who responded to the scene and acted under the color of law
23
24   within the scope of his agency with the Riverside County Sheriff’s Department.

25          21. Plaintiffs are informed and believe and thereon allege that Defendant LESLIE
26
     URIARTE (“Defendant Uriarte”) is a citizen of California, and is a correctional lieutenant
27
     employed by or an agent of the Riverside County Sheriff Department and Cois M. Byrd
28
                                                   7
                                PLAINTIFFS’ COMPLAINT FOR DAMAGES AND
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 1   Detention Center, located at 30755-B Auld Rd., Murrieta, CA, 92563. He was one of the officers
 2   at the aforesaid detention center who responded to the scene and acted under the color of law
 3
     within the scope of his agency with the Riverside County Sheriff’s Department.
 4
            22. Plaintiffs are informed and believe and thereon allege that Defendant GABRIEL
 5
 6   RAMIREZ (“Defendant Ramirez”) is a citizen of California, and is a correctional lieutenant

 7   employed by or an agent of the Riverside County Sheriff Department and Cois M. Byrd
 8   Detention Center, located at 30755-B Auld Rd., Murrieta, CA, 92563. He was one of the officers
 9
     at the aforesaid detention center who responded to the scene and acted under the color of law
10
     within the scope of his agency with the Riverside County Sheriff’s Department.
11
12          23. Plaintiffs are informed and believe and thereon allege that Defendant JARED WARD

13   SR. (“Defendant Ward”) is a citizen of California, and is a correctional corporal employed by or
14   an agent of the Riverside County Sheriff Department and Cois M. Byrd Detention Center,
15
     located at 30755-B Auld Rd., Murrieta, CA, 92563. He was one of the officers at the aforesaid
16
     detention center who responded to the scene and acted under the color of law within the scope of
17
18   his agency with the Riverside County Sheriff’s Department.

19          24. Plaintiffs are informed and believe and thereon allege that Defendant LACY
20
     STUTLER (“Defendant Stutler”) is a citizen of California, and is a sergeant employed by or an
21
     agent of the Riverside County Sheriff Department and Cois M. Byrd Detention Center, located at
22
     30755-B Auld Rd., Murrieta, CA, 92563. He was one of the officers at the aforesaid detention
23
24   center who responded to the scene and acted under the color of law within the scope of his

25   agency with the Riverside County Sheriff’s Department.
26
            25. Plaintiffs are informed and believe and thereon allege that Defendant JERET
27
     MCCLELLAN (“Defendant McClellan”) is a citizen of California, and is a sergeant employed
28
                                                   8
                                PLAINTIFFS’ COMPLAINT FOR DAMAGES AND
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 1   by or an agent of the Riverside County Sheriff Department and Cois M. Byrd Detention Center,
 2   located at 30755-B Auld Rd., Murrieta, CA, 92563. He was one of the officers at the aforesaid
 3
     detention center who responded to the scene and acted under the color of law within the scope of
 4
     his agency with the Riverside County Sheriff’s Department.
 5
 6           26. Plaintiffs are informed and believe and thereon allege that Defendant JACOB

 7   HUSKEY (“Defendant Huskey”) is a citizen of California, and is a deputy employed by or an
 8   agent of the Riverside County Sheriff Department and Cois M. Byrd Detention Center, located at
 9
     30755-B Auld Rd., Murrieta, CA, 92563. He was one of the officers at the aforesaid detention
10
     center who responded to the scene and acted under the color of law within the scope of his
11
12   agency with the Riverside County Sheriff’s Department.

13           27. Plaintiffs are informed and believe and thereon allege that Defendant ANDREW
14   CLARK (“Defendant Clark”) is a citizen of California, and is a deputy employed by or an agent
15
     of the Riverside County Sheriff Department and Cois M. Byrd Detention Center, located at
16
     30755-B Auld Rd., Murrieta, CA, 92563. He was one of the officers at the aforesaid detention
17
18   center who responded to the scene and acted under the color of law within the scope of his

19   agency with the Riverside County Sheriff’s Department.
20
             28. Plaintiffs are informed and believe and thereon allege that Defendants RIVERSIDE
21
     COUNTY SHERIFF’S DEPARTMENT (“Sheriff’s Dept.”) and The COUNTY OF RIVERSIDE
22
     are, and was at all times herein alleged the Law Enforcement Agency in Riverside County,and
23
24   the County of Riverside located in in the State of California

25           29. Plaintiffs are informed and believe and thereon allege that Defendant COIS BYRD
26
     DETENTION CENTER (“Detention Center”), located at 30755-B Auld Road, Murrieta, CA
27
     92563, is and was at all times herein alleged a correctional facility within the Riverside County in
28
     the State if California.

                                                    9
                                 PLAINTIFFS’ COMPLAINT FOR DAMAGES AND
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 1   OTHER DEFENDANTS:
 2          30. The true names and capacities, whether individual, plural, corporate, partnership,
 3
     associate, or otherwise, of Does 1-25, inclusive, are unknown to Plaintiffs who therefore sued
 4
     said Defendants by such fictitious names. The full extent of the facts linking such fictitiously
 5
 6   sued Defendants is unknown to Plaintiffs. Plaintiffs are informed and believe, and thereupon

 7   allege, that each of the Defendant designated herein as a Doe was, and is negligent, or in some
 8   other actionable manner, responsible for the events and happenings hereinafter referred to, and
 9
     thereby negligently, or in some other actionable manner, legally and proximately caused the
10
     hereinafter described injuries and damages to Plaintiffs. Plaintiffs will hereafter seek leave of the
11
12   Court to amend this Complaint to show the Defendants’ true names and capacities after the same

13   have been ascertained.
14
     AGENCY & CONCERT OF ACTION:
15
            31. At all times herein mentioned, Defendants, and each of them, hereinabove, were the
16
     agents, servants, employees, partners, aiders and abettors, and/or joint venturers of each of the
17
18   other Defendants named herein and were at all times operating and acting within the scope and

19   purpose of said agency, service, employment, partnership, enterprise, and/or joint venture, and
20
     each Defendant has ratified and approved the acts of each of the remaining Defendants.
21
                                           GENERAL ALLEGATIONS
22
        32. Plaintiffs are informed and believe, and thereon allege, that at all times herein
23
24   mentioned, each Defendant was an agent and/or employee and/or co-conspirator or each

25   remaining Defendants, and in engaging in acts and/or omissions hereinafter alleged, was acting
26
     within the scope of such agency, employment, and/or conspiracy, and with the permission and
27
     consent of other Co-Defendants.
28
                                                   10
                                 PLAINTIFFS’ COMPLAINT FOR DAMAGES AND
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 1       33. The acts and omissions of all Defendants were engaged in maliciously, callously,
 2   oppressively, wantonly, recklessly, and with deliberate indifference to the rights of Plaintiffs.
 3
                                            STATEMENT OF FACTS
 4
         34. Decedent was a 31-year-old resident of Winchester, California who was
 5
 6   booked at the Cois Byrd Detention Center located in Murrieta, California and under the care,

 7   custody, and control of the Riverside County Sheriff’s Department at the time of his death.
 8       35. Plaintiffs are informed and believe and thereon allege that on or May 17,
 9
     2022, Riverside County Sheriff’s Deputy found Mr. Kail in his jail cell unresponsive.
10
11       36. Plaintiffs are informed and believe and thereon allege that while Decedent was inside
12   Cois Byrd Detention Center, he had access to narcotics, including Fentanyl.
13
         37. Plaintiffs are informed and believe and thereon allege that the Riverside County Sheriff’s
14
     Department and the officers at the Cois Byrd Detention Center in Murrieta knew or should have
15
16   known that the inmates, including the Decedent were consuming narcotics, including Fentanyl at

17   an alarming rate which could cause death.
18       38. Plaintiffs are informed and believe and thereon allege that the Riverside County Sheriff’s
19
     Department failed to prevent the procurement and the consumption of narcotics, including
20
     Fentanyl at the Cois Byrd Detention Center.
21
22       39. Decedent was a loving husband, father and son who lost his life due to the

23   Defendants’ negligence in failing to properly secure the facility and the entrance of narcotics into
24   the jail.
25
         40. Plaintiffs are informed and believe and thereon allege that many inmates, including
26
     Decedent lost their lives inside the Cois Byrd Detention Center in Murrieta, California due to
27
28   similar acts.
                                                   11
                                 PLAINTIFFS’ COMPLAINT FOR DAMAGES AND
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 1      41. Plaintiffs are informed and believe and thereon allege that the Riverside
 2   County Sheriff’s Department failed to take proper measures to prevent inmates from obtaining
 3
     and consuming Fentanyl while in custody.
 4
        42. Plaintiffs are informed and believe and thereon allege that Defendants failed to protect
 5
 6   Decedent and Decedent’s life by providing necessary medical care and drug rehabilitation

 7   services while he was detained at the Cois Byrd Detention Center.
 8      43. Plaintiffs are informed and believe and thereon allege that Defendants were
 9
     obligated and required by law to take proper measures to prevent the inmates at the Cois Byrd
10
     Detention Center from obtaining and consuming narcotics, including Fentanyl.
11
12      44. Plaintiffs are informed and believe and thereon allege that Defendants

13   failed to conduct a regular welfare check on inmates as required to help Decedent seek medical
14   treatment promptly to save his life.
15
        45. Plaintiffs are informed and believe and thereon allege that there were
16
     numerous inmate deaths due to Fentanyl or other narcotic substance overdose in the years 2021
17
18   and 2022, and the Defendants failed to report those deaths to the State Officials.

19      46. Plaintiffs are informed and believe and thereon allege that Defendants knew or should
20
     have known individuals who are incarcerated, including Decedent are vulnerable to a fatal
21
     Fentanyl overdose as contrabands such as Fentanyl can easily enter the detention center.
22
        47. Plaintiffs are informed and believe and thereon allege that Defendants failed to utilize
23
24   intense surveillance and other control measures to prevent illicit drugs such as Fentanyl from

25   entering the Cois Byrd Detention Center.
26
        48. Plaintiffs are informed and believe and thereon allege that Defendants failed
27
28
                                                   12
                                 PLAINTIFFS’ COMPLAINT FOR DAMAGES AND
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 1   to take even modest actions to prevent the deaths of the inmates due to drug overdose while in
 2   custody at the Cois Byrd Detention Center.
 3
         49. Plaintiffs are informed and believe and thereon allege that despite
 4
     numerous inmate deaths, Defendants failed to tighten the security measures for inmates such as
 5
 6   the Decedent to not obtain Fentanyl or narcotics inside the detention center.

 7       50. Plaintiffs are informed and believe and thereon allege that inmates are at an increased risk
 8   of obtaining Fentanyl or other types of narcotic substances for distribution and consumption
 9
     while detained at the aforesaid detention center; however, Defendants knowingly and/or
10
     recklessly disregarded that risk and Decedent’s potential death due to Fentanyl overdose by
11
12   failing to secure the facility and prevent the entrance of illicit drugs.

13                                                DAMAGES
14
         51. As a direct result of Defendants’, and DOES’s 1-25 acts/omissions as herein before
15
     described, Plaintiff Sharon suffered the loss of her beloved son; Plaintiff Meghan suffered the
16
     loss of her beloved husband, Plaintiff Maya and Plaintiff Leah suffered the loss of their loving
17
18   father and the right to receive continued support, love and affection from Decedent. It is evident

19   that Plaintiffs have suffered emotional distress, embarrassment, mental and physical pain, pain
20
     and suffering, humiliation, and other damages which they will continue to suffer in the future.
21
         52. Plaintiffs claim damages for Decedent pre-death pain and suffering because Decedent
22
     suffered an immense amount of discomfort hours before he passed away as a direct and
23
24   proximate cause of Defendants’ negligent acts and/or omissions. Further, Plaintiffs sustained

25   damages resulting from the loss of aid, affection, comfort, society, and companionship, as well
26
     as other benefits and assistance from Decedent as a result of Defendant’s deliberate indifference
27
     to life, safety, and medical needs.
28
                                                    13
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 1          53. As a direct result of Defendants’ conduct herein before described, Plaintiffs suffered
 2   violation of their rights under the Fourteenth Amendment to the United States Constitution as
 3
     made actionable against Defendants pursuant to 42 U.S.C. §1983, under California Constitution
 4
     Article §§1 and 7 and under the state tort law, by Defendants’ deliberate indifference towards
 5
 6   Decedent’s safety while being incarcerated; deliberate indifference to assist Decedent to receive

 7   the necessary medical treatments for his drug addiction that he was entitled to; and deliberate
 8   indifference to Decedent’s safety and life.
 9
            54. Therefore, Plaintiffs are entitled to an award of all attorney’s costs, fees and litigation
10
     costs incurred in pursuing this action for violation of his Civil Rights.
11
12
                                              CLAIMS FOR RELIEF
13
                                             First Claim For Relief
14
                 Violation of Civil Rights- 42 U.S.C. §1983- Fourteenth Amendment and Eight
15                                             Amendment
                               Deliberate Indifference to Serious Medical Need
16                                         Against all DEFENDANTS
17
18          55. Plaintiffs re-allege and incorporate the allegations set forth in the preceding

19   paragraphs as though fully set forth herein.
20
            56. Plaintiffs are informed and believe and thereon allege that on or May 17,
21
     2022, Riverside County Sheriff’s Deputy found Mr. Kail in his jail cell unresponsive.
22
23          57. Plaintiffs are informed and believe and thereon allege that while Decedent was inside
24
     Cois Byrd Detention Center, he had access to narcotics, including Fentanyl.
25
26          58. Plaintiffs are informed and believe and thereon allege that the Riverside County

27
28
                                                   14
                                 PLAINTIFFS’ COMPLAINT FOR DAMAGES AND
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 1   Sheriff’s Department and the officers at the Cois Byrd Detention Center in Murrieta knew or
 2   should have known that the inmates, including the Decedent were consuming narcotics at an
 3
     alarming rate which could easily cause an overdose.
 4
            59. Plaintiffs are informed and believe and thereon allege that the Riverside
 5
 6   County Sheriff’s Department had knowledge of prior drug overdoses in the named facility and

 7   failed to take proper measures to prevent inmates from obtaining and consuming Fentanyl while
 8   in detention center.
 9
            60. Plaintiffs are informed and believe and thereon allege that Defendants failed to
10
     prevent Decedent, and others, from obtaining and consuming narcotics, including Fentanyl.
11
12          61. Plaintiffs are informed and believe and thereon allege that Defendants were obligated

13   and required by law to take proper measures to prevent the inmates at the Cois Byrd Detention
14   Center from obtaining and consuming narcotics, including Fentanyl.
15
            62. Plaintiffs are informed and believe and thereon allege that Defendants failed to utilize
16
     intense surveillance and other control measures to prevent illicit drugs such as Fentanyl from
17
18   entering the Cois Byrd Detention Center.

19          63. Plaintiffs are informed and believe and thereon allege that Defendants failed to
20
     protect Decedent and provide necessary medical care and drug rehabilitation services while he
21
     was in Cois Byrd Detention Center.
22
            64. Plaintiffs are informed and believe and thereon allege that Defendants
23
24   failed to conduct a regular welfare check on inmates as required to help Decedent seek medical

25   treatment promptly to save his life.
26
            65. Decedent had a constitutional right under the Fourteenth Amendment to receive
27
     prompt medical and/or health care for his opioid use disorder; however, Defendants and DOES
28
                                                   15
                                 PLAINTIFFS’ COMPLAINT FOR DAMAGES AND
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 1   1-25 violated Decedent constitutional right to medical and/or health care when they acted with
 2   deliberate indifference to Decedent serious medical needs.
 3
            66. At all times, Defendants and Does 1-25 were acting under the color of law and were
 4
     acting in the course and scope of their employment with Riverside County Sheriff Department
 5
 6   and Cois Byrd Detention Center in Murrieta California.

 7          67. At all times, Defendants and Does 1-25, knew or should have known that Decedent,
 8   and others, had access to Fentanyl, and other illicit narcotics while incarcerated, which ultimately
 9
     caused the death of the Decedent.
10
            68. Plaintiffs are informed and believe and thereon allege that Defendants had prior
11
12   notice and dealings with narcotics, including Fentanyl, found in the named facility which placed

13   Decedent, and other inmates, at an increased risk of obtaining Fentanyl or other types of narcotic
14   substances for distribution and consumption while detained at the aforesaid detention center;
15
     however, Defendants knowingly and/or recklessly disregarded this risk and Decedent’s potential
16
     death due to Fentanyl overdose.
17
18           69. As a direct and proximate result of Defendants’ and Does’ 1-25

19   acts and omissions that were deliberately indifferent Decedent serious medical and/or health
20
     needs, Decedent lost his life due to Fentanyl overdose while in custody and care of Defendants.
21
            70 . Defendants and Does 1-25 acted with deliberate or reckless disregard to Decedent’s
22
     constitutionally protected rights, justifying an award of punitive or exemplary damages against
23
24   Defendants and Does 1-25 in an amount subject to proof at the time of trial in order to deter

25   Defendants and Does 1-25 from deliberately disregarding the inmates’ needs for constitutionally
26
     protected rights to receive medical and health treatments and to make an example by way of
27
28
                                                   16
                                 PLAINTIFFS’ COMPLAINT FOR DAMAGES AND
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 1   monetary punishment. Further Plaintiffs as a successor-in-interest to Decedent are also entitled to
 2   attorneys fees and costs associated with this complaint.
 3
                                            Second Claim For Relief
 4                    Violation of Civil Rights- 42 U.S.C. §1983- Fourteenth Amendment
                                          Right to Familial Association
 5                                         Against all DEFENDANTS
 6
            71. Plaintiffs re-allege and incorporate the allegations set forth in the preceding
 7
     paragraphs as though fully set forth herein.
 8
 9          72. Plaintiffs are informed and believe and thereon allege that Defendants and Does 1-25

10   were aware that Decedent was a loving and caring husband, son and father who was in their care
11   custody, and control at the Cois Byrd Detention Center in Murrieta California.
12
            73. Plaintiffs are informed and believe and thereon allege that Defendants knew or should
13
     have known that inmates, including Decedent, had access to illicit drugs while in custody, which
14
15   required Defendants to tighten the security measures at the aforesaid detention center to prevent

16   these inmates from getting access to illicit and deadly drugs.
17
            74. Plaintiffs are informed and believe and thereon allege that the Riverside
18
     County Sheriff’s Department had knowledge of drug dealings with Fentanyl in the mentioned
19
     facility and failed to take proper measures to prevent inmates, and the Decedent, from obtaining
20
21   and consuming Fentanyl while detained at the Detention Center.

22          75. Plaintiffs are informed and believe and thereon allege that Defendants were aware
23
     that due to the Defendant’s failure of preventing illicit drugs, such as Fentanyl, from entering the
24
     facility, Defendants knowingly and/or recklessly disregarded the risks associated with Fentanyl
25
     consumptions and the likelihood of a Fentanyl overdose.
26
27          76. Defendants’ and Does 1-25 failure to take intense and proper measures to prevent

28
                                                   17
                                 PLAINTIFFS’ COMPLAINT FOR DAMAGES AND
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 1   Decedent from obtaining and consuming Fentanyl inside the detention center, Defendants’ and
 2   Does’ 1-25 deliberate indifference towards Decedent medical needs, and their failure to at least
 3
     conduct a welfare check on the Decedent while he was inside his detention cell to ensure he was
 4
     not in danger, amounts to a deliberate indifference to Decedent’s safety and thereby to Plaintiffs’
 5
 6   constitutional right to companionship and society.

 7          77. Plaintiffs are informed and believe and thereon allege that Defendants’ and Does’ 1-
 8   25 hereinabove mentioned deliberate indifference, Plaintiffs have been deprived of their liberty
 9
     interest in the companionship and society of Decedent as Defendants’ and Does’ 1-25 conduct
10
     shocks the conscience, justifying a ward of punitive or exemplary damages against Defendants
11
12   and Does 1-25.

13                                      Third Claim For Relief
                   Violation of Civil Rights- 42 U.S.C. § 1983; Art. 1, §§1 and 7, California
14                                            Constitution
15                                         Right to Safety and Life
                                          Against all DEFENDANTS
16
            78. Plaintiffs re-allege and incorporate the allegations set forth in the preceding
17
18   paragraphs as though fully set forth herein.

19          79. Plaintiffs are informed believe and allege that Defendants and Does 1-25 violated
20
     Decedent’s rights to life and safety protected under California Constitution Article 1 §1 and §7
21
     by failing to take proper measure to ensure the DECEDENT 1 and DECEDENT 2’s safety and
22
     that they were free from a potential life-threatening harm which could result due to Decedent
23
24   Fentanyl overdose.

25          80. Defendants’ and Does’ 1-25 wrongful acts and/or omission were intentional in failing
26
     to protect and preserve Decedent’s and similarly situated inmates’ lives, and each of them were
27
28
                                                  18
                                PLAINTIFFS’ COMPLAINT FOR DAMAGES AND
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 1   deliberately indifferent to the likely consequences of Decedent’s Fentanyl consumption inside
 2   the Cois Byrd Detention Center I Murrieta, California.
 3
             81. As a direct and proximate consequence of Defendants’ unlawful conduct, Decedent
 4
     lost his life; Plaintiff Sharon lost her beloved son; Plaintiff Meghan lost her husband; and
 5
 6   Plaintiffs Leah and Maya lost their loving father.

 7           82. Defendants’ and Does’ 1-25 failure to act and/or conduct alleged herein amounts to
 8   oppression, fraud or malice within the meaning of Civil Code §3294 and was performed
 9
     knowingly, intentionally and maliciously, amounting to despicable conduct by reason of which
10
     Plaintiffs are entitled to an award of exemplary damages against these Defendants in an amount
11
12   subject to proof at the time of trial in order to deter these Defendants from engaging in similar

13   conducts and to make an example by the way of monetary punishment. Plaintiffs are entitled to
14   attorney’s fees and costs of the suit herein pursuant to statute.
15
                                           Fourth Claim For Relief
16             Failure to Properly Train and Supervise & Monell Liability for Unconstitutional
                             Policy, Practice & Custom- 42 U.S.C. § 1983
17
                 Against RIVERSIDE COUNTY SHERIFF’S DEAPRTMENT, RIVERSIDE
18                                   COUNTY, AND DOES 1-25.

19           83. Plaintiffs re-allege and incorporate the allegations set forth in the preceding paragraphs
20
     as though fully set forth herein.
21
             84. Plaintiffs are informed and believe, and thereon alleges, that Riverside County’s
22
     Sheriff’s Department and the officers at the Cois Byrd Detention Center are required to utilize
23
24   intense surveillance and control of the inmates to prevent illicit drugs such as Fentanyl from

25   entering into facilities.
26
             85. Plaintiffs are informed and believe and thereon allege that California Department of
27
     Corrections and Rehabilitation and California Correctional Health Care Services have
28
                                                   19
                                 PLAINTIFFS’ COMPLAINT FOR DAMAGES AND
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 1   implemented the Integrated Substance Use Disorder Treatment (“ISUDT”) which detention
 2   centers such as the Cois Byrd Detention Center are required to abide by and through which they
 3
     are required to provide assistance to inmates, including Decedent who suffer from substance use
 4
     disorder to receive proper treatment.
 5
 6          86. Plaintiffs are informed and believe and thereon allege that Defendants and Does 1-25

 7   were aware of Decedent’s need to receive ISUDT as Decedent had a constitutionally protected
 8   right to receive such treatment while he was incarcerated at the Cois Byrd Detention Center.
 9
     However, Defendants and Does 1-25, and each of them knowingly, recklessly and deliberately
10
     disregarded Decedent’s need for such assistance and caused Decedent to obtain Fentanyl which
11
12   resulted in him dying due to Fentanyl overdose.

13          87. Further, the detention officers are required to promptly assess each inmate and
14   inmate’s health and illicit drug use to assess whether a particular inmate suffers from substance
15
     use disorder and if so, they are required to assist the inmate to seek treatments under the ISUT
16
     program in order to save the inmate’s life and to preserve the safety and wellbeing of other
17
18   inmates inside the detention centers.

19          88. Plaintiffs are informed and believe and thereon allege that at many inmates at the
20
     Cois Byrd Detention Center lost their lives due to Fentanyl overdose which was never reported
21
     to the state officials as it would have prompted the state officials to question the Riverside
22
     County Sheriff’s Department’s and the Cois Byrd Detention Center’s officials conduct and
23
24   failure to undertake necessary measures such as assisting inmates to seek treatments for their

25   substance use disorder, or to at least strengthen the security measures to prevent Fentanyl from
26
     entering the detention center.
27
28
                                                   20
                                 PLAINTIFFS’ COMPLAINT FOR DAMAGES AND
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 1          89. Defendants Sheriff’s Dept.’s and Detention Center’s lack of a proper hiring, training,
 2   and retention, of the detention center officers who are conduct routine welfare checks on inmates
 3
     in general and on inmates with drug use history in particular to ensure they are not in danger of
 4
     an overdose or to assist the aforesaid inmates to receive proper treatments for the drug use
 5
 6   disorder as required under the ISUDT was a direct and proximate cause of Plaintiffs’ loss of their

 7   loved one and Decedent’s loss of life inside the Detention Center. Defendants’ lack of proper
 8   training, hiring, and retention of detention officers clearly amounts to deliberate indifference to
 9
     Decedent’s well-being and safety.
10
            90. Sheriff’s Dept.’s and Detention Center’s failure to maintain adequate and proper
11
12   training for its law enforcement officers, including deputy sheriffs and detention center officers

13   to educate them as to the constitutional rights of the inmates general and the inmates with drug
14   use disorder and/or history of drug dealings in particular; to ensure their safety and well-being
15
     amounts to deliberate indifference.
16
            91. Sheriff’s Dept. and Detention Center were aware, or should have been aware, of the
17
18   propensities of its officers in general and the officers inside the Detention Center in particular to

19   abuse their discretion and show reluctance towards inmates who are suffering from drug use
20
     disorder and toward ensuring their safety and wellbeing; however, the Sheriff’s Dept. and
21
     Detention Center failed to adequately train and supervise its officers from violating the afore-
22
     mentioned individuals’ rights.
23
24          92. Defendants’ and Does’ 1-25 deliberate indifference to Plaintiffs’ constitutional rights,

25   their failure to provide adequate training and supervision to the Detention Center officers and to
26
     the Sheriff Deputies that hold the power, authority, insignia, equipment, and resources available
27
28
                                                   21
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 1   to them to protect inmates in situation such as the one in question, amounts to deliberate
 2   indifference to citizen’s constitutional rights.
 3
             93. Sheriff’s Department’s inadequate policy and procedures and failure to equip its
 4
     officers, including officers at the Cois Byrd Detention Center in Murrieta, California with proper
 5
 6   training related to dealings with inmates who suffer from drug use disorder, was the direct and

 7   proximate cause of the death of Decedent.
 8
                                           Fifth Claim For Relief
 9                         Wrongful Death and Survival Action Under State Tort Law
10                                       Against all DEFENDANTS

11           94. Plaintiffs reallege and incorporate the allegations set forth in the preceding
12   paragraphs as though fully set forth herein.
13
             95. Defendants, and Does 1-25, and each of them, owed a duty of care to
14
     Decedent, whom they had taken into custody and booked at the Cois Byrd Detention Center in
15
16   Murrieta, California to act with ordinary care and prudence to ensure his safety and wellbeing

17   while inside Detention Center. Defendants and Does 1-25, and each of them owed a duty of
18   reasonable care to periodically check on Decedent to make sure she did not pose a threat of harm
19
     to himself and/or others to avoid a fatality that could easily occur considering Decedent’s
20
     Fentanyl use disorder.
21
22           96. Further, Plaintiffs allege that Defendants and Does 1-25 had a duty pursuant to

23   California Department of Corrections and Rehabilitation and California Correctional Health Care
24   Services’ programs such as the ISUDT and Cognitive Behavior Interventions (“CBIs”) programs
25
     to assess and evaluate Decedent for substance use disorder and to provide him with proper
26
     treatment if needed in order save his life from Fentanyl overdose.
27
28
                                                    22
                                  PLAINTIFFS’ COMPLAINT FOR DAMAGES AND
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 1           97. At all times mentioned herein, Defendants and Does 1-25, and each of them were
 2   acting in the course and within the scope of their employment with the Riverside County.
 3
     Defendants and Does 1-25, and each of them breached their duty of care to Decedent and
 4
     Plaintiffs by:
 5
 6           (a) failing to promptly get Decedent assessed for eligibility to receive treatments for drug

 7               use disorder;
 8           (b) failing to conduct a welfare check on Decedent while he was in his cell at the
 9
                 Detention center;
10
             (c) failing to preserve safety of Decedent;
11
12           (d) failing to evaluate available information to determine Decedent’s propensity to obtain

13               and consume illicit drugs such as Fentanyl; and
14           (e) failing to evaluate safety conditions.
15
             98. By engaging in the foregoing acts and/or omissions, Defendants, and each of
16
     them, breached their duty of care owed to Decedent and Plaintiffs. Further, Riverside County is
17
18   responsible for the acts of its individual agents and employees under the theory of respondeat

19   superior.
20
             99. As a direct and proximate result of Defendants’ negligent conduct alleged herein,
21
     Plaintiff Sharon lost her son, Plaintiff Meghan lost her husband and Plaintiffs Leah and Maya
22
     lost their father. Furthermore, Plaintiffs sustained damages resulting from the loss of aid,
23
24   affection, comfort, society, and companionship, as well as other benefits and assistance from

25   Decedent as a result of Defendant’s and Does’ 1-25 negligence.
26
             100. Further, the conduct and/or omission of Defendants and Does 1-25 amounts to
27
     oppression, fraud, or malice within the meaning of Civil Code Section 3294 et seq., and punitive
28
                                                   23
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 1   damages should be assessed against each Defendant for the purposes of punishment and for the
 2   sake of example.
 3
                                          PRAYER FOR RELIEF
 4
     WHEREFORE, PLAINTIFFS pray judgment against DEFENDANTS as follows:
 5
 6                  a. General damages according to proof at the time of trial;

 7                  b. Special damages according to proof at the time of trial;
 8                  c. Prejudgment interest;
 9
                    d. Punitive Damages, at the time of trial;
10
                    e. Costs of suit incurred herein; and
11
12                  f. Attorneys’ fees;

13                  g. Exemplary damages.
14
                                           DEMAND FOR JURY TRIAL
15
             Plaintiff respectfully demands that the present matter be set for a jury trial.
16
     //
17
18   //

19
     Respectfully Submitted by:
20                                                 THE KHASHAN LAW FIRM, APC
                                                     A Professional Law Corporation
21
22
23   Dated: March 18, 2024,                         By:    Lewis Khashan, Esq.
24                                                  Lewis G. Khashan, Esq.
                                                    Attorneys for Meghan O’Malley, Leah Kail and
25                                                  Maya Kail
26
27
28
                                                    24
                                  PLAINTIFFS’ COMPLAINT FOR DAMAGES AND
                                        VIOLATIONS OF CIVIL RIGHTS
